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                            UNITED STATES DISTRICT
                           COURT FOR THE DISTRICT OF
                                  COLUMBIA


 UNITED STATES OF AMERICA

         v.                                           CRIMINAL NO. 21mj231

 Raechel Genco,
       Defendant.

                                              ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon consent,

it is therefore

        ORDERED that the motion is GRANTED; it is further

        ORDERED that the currently scheduled preliminary hearing on December 28, 2021, be

continued for good cause to January 31, 2022 at 1:00 p.m.; and it is further

        ORDERED that the period from December 28, 2021 through January 31, 2022 be

excluded from calculation under the Speedy Trial Act. The Court finds that the ends of justice

served by the granting of such continuance outweigh the best interests of the public and

Defendant in a speedy trial, as the continuance will provide the parties with additional time to

engage in a pretrial resolution of this matter.


                                                                             Zia M. Faruqui
                                                  ZiaFaruqui
                                                  United States Magistrate Judge

          December 28, 2021
Entered: ------------




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